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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                        Case No. 20-CR- 129(1)(NEB/HB)

UNITED STATES OF AMERICA,

                     Plaintiff,                     PLEA AGREEMENT AND
                                                    SENTENCING STI PULATIONS
       V.


 SAMUEL ELLIOT FREY.

                    Defendant.

      The United States of America and defendant SAMUEL ELLIOT FREY

(hereinafter referred to as the "defendant") agree to resolve this case on the terms

and conditions that follow. This plea agreement binds only the defendant and the

United States Attornev's Office for the District of Minnesota (hereinafter "the United

States" or "the Government"). This agreement does not bind any other United States

Attorney's Offi.ce or any other federal or state agency.

       1.    Charges. The defendant voluntarily agrees to plead guilty to Count

Two of the Superseding Indictment, which charges the defendant with knowingly and

intentionally conspiring with McKenzy Ann DeGidio Dunn Qrereinafter referred to as

"Co-Conspirator Dunn") and        with Co-Conspirator 1, to damage and destroy,        and

attempt to damage and destroy, by means of fire, a building used in interstate or

foreign commerce and in activity affecting interstate or foreign commerce, in violation

of Title 18, United States Code, Section 844(l), all in violation of Title 18, United

States Code, Section 371. The defendant fully understands the nature and elements


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of the crime with which he has been charged. At the time of sentencing, the

government agrees to move to dismiss Count One of the Superseding Indictment.

      2.      Factual Basis. The defendant is pleading guilty because he is in fact

guilty of Count Two of the Superseding Indictment. In pleading guilty, the defendant

admits the following facts and that those facts establish his guilt beyond a reasonable

doubt and constitute relevant conduct pursuant to the United States Sentencing

Guidelines:

      On or about May 28, 2020, the defendant and Co-Conspirator Dunn knowingly

and intentionally conspired with each other and with Co-Conspirator 1 (collectively,

the "co-conspirators") to commit an act of arson at the Great Health and Nutrition

store located at 1360 University Avenue West, in St. Paul, Minnesota. The Great

Health and Nutrition store is a business engaged in activity affecting interstate or

foreign commerce    in that the business routinely      received products shipped from

outside the State of Minnesota. At aII times herein, Co-Conspirator 1 was 17 years-

old and was the defendant's sister.

      More specifically,   it   was part of the conspiracy that on May 28, 2020, the co-

conspirators joined other individuals who had gathered near          the 1300 block of
University Avenue West, in St. Paul, Minnesota, and thereafter the co-conspirators

engaged   in conduct designed to accelerate a fire in the Great Health and Nutrition

store. The defendant voluntarily and intentionally joined in the conspiracy, and at

the time the defendant joined in the conspiracy, he knew that its purpose was to

commit an act of arson at the Great Health and Nutrition retail store. While the
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conspiracy was in effect, the defendant and Co-Conspirator Dunn committed, directly

and through at least one other co-conspirator, certain overt acts, in furtherance ofthe

conspiracy and to achieve its objects, including but not limited to the following:

         The defendant, Co-Conspirator Dunn, and Co-Conspirator 1 arrived together

in the same car to the Midway area near University Avenue in St. Paul, Minnesota,

at which time and location other parties were already engaged in, among other
things, efforts to trespass, Ioot, and burn nearby businesses and buildings.

         The defendant, Co-Conspirator Dunn, and Co-Conspirator 1 together walked

through multiple business locations in St. Paul's Midway area before they arrived

together inside the Great Health and Nutrition retail store located at 1360 University

Avenue West. While initially inside the Great Health and Nutrition store, the

defendant, Co-Conspirator Dunn, and Co-Conspirator 1, among other things, at

various times, walked through and observed the interior of the premises.

         While the defendant, Co-Conspirator Dunn, and Co-Conspirator 1 stood near

each other     within the Great Health and Nutrition store, one of the co-conspirators

said, "We're lighting this bitch    up."   Defendant took a bottle of hand sanitizer,

removed the cap, and poured the contents onto a downed shelving unit located on the

floor.

         A   co-conspirator stated again that "We're lighting this bitch up, bro." Co-

Conspirator 1 and defendant knocked shelving units to the floor as Co-Conspirator    1


said, "We don't got to worry.   It'Il all be burned."
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        Standing near the other co-conspirators, the defendant held a lighter in his

hand and lit paper on fire. Defendant placed the flaming paper upon the area within

the store where he had poured the contents of a hand sanitizer bottle. As the

defendant      lit the paper on fire standing next to the defendant,   one of the conspirators

warned others that the defendant was "lighting" and "dropping fire."

        Standing near the other co-conspirators, the defendant held a lighter in his

hand and       lit a magazine on fire as Co-Conspirator   1 said, "don't   light this bitch up
yet." While holding a magazine in his hand, defendant turned toward a shelving unit

that remained standing upright against a wall and said, "you have like five minutes

. . . until   I can figure out how to get this bitch burned."

        Co-Conspirator Dunn took an additional bottle of hand sanitizer from a

countertop      in her hand and    stood next to the defendant. Working together, the

defendant and Co-Conspirator Dunn each applied additional hand sanitizer                in an
effort to accelerate a fire. As the defendant and Co-Conspirator Dunn stood next to

each other, a co-conspirator warned       that "He lit the fire." After the defendant and
Co-Conspirator Dunn together stepped away from the shelving                 unit and looked
toward the store's entryway, they returned back to the shelving unit for the purpose

of accelerating a fire.

        As a result of the actions of the co-conspirators, the Great Health and     Nutrition
store sustained damage. More specifically, oD ATF Special Agent and Certified Fire

Investigator examined the Great Health and Nutrition store and determined, among

other things, that along the east interior one of the shelving units sustained fire
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damage    in the form of charring, discoloration, and soot and smoke deposits to the
upper two shelves, as well as charred paper on these shelves. The Certified Fire

Investigator further observed that the wall behind the shelving unit also sustained

fire damage in the form of charring, discoloration, and soot and smoke deposits. The

Certified Fire Investigator also observed light smoke deposits on the HVAC air

intakes and discharge vents located in the drop ceiling. The ATF Certified Fire

determined the fire cause to be the application of an open flame           to   available

combustibles.

      After May 28, 2020, the defendant spoke with Co-Conspirator Dunn and with

Co-Conspirator 1 each on     at least one occasion. In the      defendant's respective

discussions   with the Co-Conspirators, he instructed them to be untruthful to law
enforcement by falsely reporting that another person, a male      in a Hawaiian shirt
wearing a blue baseball hat, had started the     fire. At the time of the defendant's
instructions to the Co-Conspirators, the defendant knew this was a lie.

      3.      Waiver of Pretrial Motions. The defendant understands and agrees

that the defendant has certain rights to file pre-trial motions in this case. As part of

this plea agreement, and based upon the concessions of the United States within this

plea agreement, the defendant knowingly, willingly, and voluntarily gives up the

right to have any pending motions resolved and to file any additional pre-trial
motions    in this case. The defendant      agrees that,   by pleading guilty, he is
withdrawing any motions previously filed.
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       4.     Waiver of Constitutional Trial Rights. The defendant understands

that he has the right to go to      trial. At trial, the defendant would be presumed
innocent, have the right to trial by jury or, with the consent of the United States and

of the Court, to   trial by the Court, the right to the assistance of counsel, the right to

confront and cross-examine adverse witnesses, the right to subpoena witnesses to

testify for the defense, the right to testify and present evidence, and the right to be

protected from compelled self-incrimination. The defendant understands that he has

the right to an attorney at every stage of these proceedings and, if necessary, one      will
be appointed to represent    him. The defendant understands that he has the right to
persist in a plea of not guilty and,   if he does   so, he would have the   right to a public

and speedy trial. By pleading guilty, the defendant knowingly, willingly, and

voluntarily waives each of these trial rights, except the right to counsel. The

defendant understands that a guilty plea is a complete and final admission of guilt

and, if the Court accepts the guilty plea, the Court will adjudge the defendant guilty

without a trial.

       5.    Additional Consequences. The defendant understands that as a
result ofhis conviction, he could be assessed the costs ofprosecution and experience

additional consequences, such as the loss of the right to carry firearms, the right to

vote, and the right to hold public office.

      6.      Statutory Penalties. The defendant understands that Count Two of
the Superseding Indictment (Title 18, United States Code, Section 371) is a felony

offense that carries the following statutory penalties:



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               a.    a maximum of 5 years in prison;

               b.    a supervised release term of not more than 3 years;

               c.    a maximum fine of $250,000;

               d.    restitution; and

               e.    a mandatory special assessment of $100.

        7.     Revocation of Supervised Release. The defendant understands that

if   he were to violate any condition of supervised release, the defendant could be

sentenced to an additional term of imprisonment up to the length of the original

supervised release term, subject to the statutory maximums set forth         in   18 U.S.C.

s 3583.

        8.    Guidelines Calculations. The parties acknowledge that                     the

defendant will be sentenced in accordance    with 18 U.S.C.   S   3551, et seq. Nothing in

this plea agreement should be construed to limit the parties from presenting any and

all relevant evidence to the Court at sentencing. The parties also acknowledge that

the Court will consider the United States Sentencing Guidelines in d.etermining the

appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:

              a.    Base Offense Level. The parties agree that the base offense
                    level is 20. U.S.S.G. $ 2X1.1(a); S 2K1.4(aX2).

              b.    Specific Offense Characteristics. The parties agree that the
                    following specific offense characteristics apply: (1) pursuant to $
                    3C1.1, a 2-level upward adjustment applies for obstruction of
                    justice because the defendant instructed at least two others to
                    falsely report to law enforcement that another party was
                    responsible for the offense, which defendant knew at the time was
                    false; (2) pursuant to S 381.4, a 2-level upward adjustment
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           applies for using a minor, namely, Co-Conspirator 1, to commit a
           crime. The parties agree that no other specific offense
           characteristics apply. U.S.S.G. S 2X1. 1(bX2).

           Chapter 3 Adiustments. The parties agree that, other than
           acceptanceof responsibility, no other Chapter 3 adjustments
           apply.

     d.    Acceptance of Responsibility. The government agrees to
            recommend that the defendant receive a 2-level reduction for
            acceptance of responsibility pursuant to U.S.S.G. $ 3E1.1(a). As
           the defendant has timely notified the government of his intention
           to enter a plea of guilty, the government agrees to recommend
           that the defendant receive an additional l-level reduction
           pursuant to U.S.S.G. S 3E1.1@). Whether these reductions will
           be imposed shall be determined by the Court in its discretion.
           However, the defendant understands and agrees that the
            government's recommendations are conditioned upon the
           following: (1) the defendant testifies truthfully during the change
           of plea and sentencing hearings; (2) the defendant provides full,
           complete and truthful information to the United States Probation
           Office in the pre-sentence investigation; and (3) the defendant
           engages in no conduct inconsistent with acceptance of
           responsibility before the time of sentencing, including frivolously
           denying facts in the Presentence Report. Nothing in this
           agreement limits the right of the government, pursuant to
           U.S.S.G. S 3E1.1 and/or S 3C1.1to seek denial of a reductionfor
           acceptance of responsibility or an enhancement for obstruction of
           justice should the defendant move to withdraw his guilty plea
           after it is entered-

     e.     Criminal Histo4v Cateeor.v. The parties believe that, at the time
           of sentencing, the defendant will fall into Crirninal History
            Category I. U.S.S.G. S 441.1. This does not constitute a
           stipulation, but a belief based on an assessment of the
           information currently known. The defendant's actual criminal
           history and related status will be determined by the Court based
           on the information presented in the Presentence Report and by
           the parties at the time of sentencing. The defendant understands
           that if the presentence investigation reveals any prior adult or
           juvenile sentence which should be included within his criminal
           history under the U.S. Sentencing Guidelines, the defendant wiII
           be sentenced based on his true criminal history category, and he
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                        will not be permitted to withdraw from this Plea Agreement.
                        u.s.s.G. s 4A1.1.

                        Guidelines Ranee. If the adjusted offense level is 21, and the
                        criminal history category is I, the Sentencing Guidelines range
                        is 37-46 months of imprisonment.

                g.      Fine Ranqe. If the adjusted offense level is 17, the Sentencing
                        Guidelines fine range is $10,000-$95,000. If the adjusted offense
                        level is 19, the Sentencing Guidelines fine range is 910,000-
                        $100,000. If the adjusted offense level is 2I, the Sentencing
                        Guidelines fine range is $15,000-9150,000. U.S.S.G. g 5E1.2(c).

                h.      Supervised Release. The Sentencing Guidelines require a term of
                        supervised release of at least 1 year up to a maximum supervised
                        release term of 3 years. U.S.S.G. $ 5D1.2(a)(2).

         9.     Discretion of the Court. The foregoing stipulations are binding                      on

  the parties, but do not bind the Probation Office or the Court. The parties understand

 that the Sentencing Guidelines are advisory and their application is a matter that

 falls solely within the Court's discretion. The Court will make its own determination

 regarding the applicable Guidelines factors and the applicable criminal history

 category. The Court may also depart from the applicable Guidelines range. If the

 Court or the Probation Offi.ce determines that the applicable guideline calculations

 or the defendant's criminal history category is different from that stated above, the

 parties may not withdraw from this agreement, and the defendant will be sentenced

 pursuant to the Court's determinations.




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       11. Special Assessrnent.        The Guidelines require payment of a special

assessment    in the amount of $100 for each felony count of which the defendant is
convicted, pursuant to Guideline $ 5E1.3. The defendant agrees to pay the special

assessment prior to sentencing.

       12. Restitution.       The defendant understands and agrees that 18 U.S.C.               S



3663, and the Mandatory Victim Restitution Act, 18 U.S.C. S 36634, apply to this

case and   that the Court is required to order the defendant to make restitution to the

victim of his crime. There is presently no agreement as to the amount of restitution

because the precise amount of restitution is unknown. However, at the time of entry

of this Agreement, the parties anticipate that restitution   will   be   in excess of $5,000.

      The defendant understands and agrees that the Court will order him to make

restitution to any victim of his offense. The defendant further agrees to pay

restitution to his victim jointly and severally with Co-Conspirator Dunn, in the

amount determined by the Court and as ordered by the Court.

      13.     Disclosure of Assets. The defendant will fully and completely disclose

to the United States Attorney's Office the existence and location of any assets in

which the defendant has any right, title, or interest, or over which the defendant

exercises control, directly or indirectly, including those assets held by          a   spouse,

nominee or other third party, or any business owned or controlled by the defendant.

The defendant agrees to assist the United States in identifying, locating, returning,



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and transferring assets for use in payment of restitution fines, and forfeiture ordered

by the Court. The defendant agrees to complete a financial statement within two

weeks of the entry of his guilty plea. The defendant further agrees to execute any

releases that may be necessary for the United States to obtain information concerning

the defendant's assets and expressly authorizes the United States to obtain a credit

report on the defendant to evaluate his ability to satis$'financial obligations imposed

by the Court.   If   requested by the United States, the defendant agrees to submit to

one or more asset interviews or depositions under oath.

       L4. Waivers of Appeal and Collateral Attack.              The defendant hereby

waives the right to appeal any non-jurisdictional issues. This appeal waiver includes,

but is not limited to, the defendant's waiver of the right to appeal guilt or innocence,

sentence and restitution, and the constitutionality of the statutes to which the

defendant is pleading     guilty. The parties   agree, however, that excluded from this

waiver is an appeal by defendant of the substantive reasonableness of a term of

imprisonment above the high end of the Guidelines range determined by the district

court. The defendant also waives the right to petition under 28 U.S.C.    S 2255 except

based upon a claim of ineffective assistance of counsel.

      The defendant has discussed these rights with the defendant's attorney. The

defendant understands the rights being waived, and the defendant waives these

rights knowingly, intelligently, and voluntarily.




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        The United States agrees to waive its right to appeal any sentence except the

government may appeal the substantive reasonableness of a term of imprisonment

below the low end of the Guidelines range determined by the district court.

        15.   FOIA Requests. The defendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this     case

under the Freedom of Information Act and the Privacy Act of 1974,5 U.S.C.     SS 552,

5524.




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        16. Complete Agreement. This is the entire agreement                  and

understanding between the United States and the defendant. Other than this

Agreement,    the defendant acknowledges that no threats, promises,            or

representations have caused him to plead   guilty. The   defendant has read this

Agreement and carefully reviewed each provision with his attorney. The defendant

further acknowledges that he understands and voluntarily accepts each term and

condition of this Asreement.


                                           W. ANDERS FOLK
                                           @!irg United States Attorney

Date:   7          '/zoz\
                                                       S. EBERT

                                           Assistant United States Attornev



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                                           SAMUEL ELLIOT FREY
                                           Defendant


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Date: -,       ,
                                           Counsel for Defendant




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